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                 EXHIBIT D
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                   U.S. Postal Service™
          ru       CERTIFIED MAIL™RECEIPT
          .:r
          ru      (Domestic Mail Only; No Insurance Coverage Provided)
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          ru
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          U")                                -   -    -   .....-----,---i

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          I"'-   Street, Apt No.; .                  Virginia Depa     ent of Health
                 or PO Box No.                                 P.O. Box 2448
                 City, State, Zif'+.                   Richmond, VA 23218-2448

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              Case 1:24-cv-01844-TNM         Document 28-4        Filed 02/11/25      Page 3 of 4
    ALERT: WINTER STORMS IN THE MIDWEST THROUGH THE NORTHEAST U.S. MAY DELAY FIN…



USPS Tracking
                                  ®                                                                   FAQs 




                                                                                                    Remove 
Tracking Number:

70030500000243288242




                                                                                                           Feedback
     Copy          Add to Informed Delivery (https://informeddelivery.usps.com/)




     Latest Update
     Your item has been delivered and is available at a PO Box at 10:52 am on February 7, 2025 in
     RICHMOND, VA 23218.



     Get More Out of USPS Tracking:
         USPS Tracking Plus®


     Delivered
     Delivered, PO Box
     RICHMOND, VA 23218
     February 7, 2025, 10:52 am

     See All Tracking History

 What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


                                                                                                       
   Text & Email Updates


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   USPS Tracking Plus®


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   Product Information


                                                 See Less 

Track Another Package
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Enter tracking or barcode numbers




                                    Need More Help?
                      Contact USPS Tracking support for further assistance.


                                             FAQs
